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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X

EMELIKE NWOSUOCHA,                                               :
                                         Plaintiff,              :
                            against                              :    COMPLAINT

DONALD MCKINLEY GLOVER, II,           :                               JURY TRIAL DEMANDED
JEFFEREY LAMAR WILLIAMS, LUDWIG
EMIL TOMAS GÖRANSSON, KOBALT
MUSIC PUBLISHING AMERICA, INC. d/b/a/
SONGS OF KOBALT MUSIC PUBLISHING,
RCA RECORDS, SONY MUSIC
ENTERTAINMENT, YOUNG STONER LIFE
PUBLISHING LLC, THEORY
ENTERTAINMENT LLC d/b/a 300
ENTERTAINMENT, ATLANTIC RECORDING
CORPORATION, ROC NATION PUBLISHING
LLC d/b/a SONGS OF ROC NATION, SONGS
OF UNIVERSAL, INC., WARNER MUSIC
GROUP CORP., and WARNER-TAMERLANE
PUBLISHING CORP.

                                         Defendants.             :
 – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X


Plaintiff Emelike Nwosuocha ("Nwosuocha"), by and through his attorneys, Aidala, Bertuna &

Kamins P.C., for his Complaint against defendants Donald McKinley Glover, II (“Glover”),

Jefferey Lamar Williams (“Williams”), Ludwig Emil Tomas Göransson ("Göransson"), Songs of

Kobalt Music Publishing (“Kobalt Music”), RCA Records (“RCA”), Sony Music Entertainment

(“Sony Music”), Young Stoner Life Publishing LLC (“YSL”), Theory Entertainment LLC d/b/a

300 Entertainment (“300”), Atlantic Recording Corporation (“Atlantic”), Warner Music Group

Corp. (“WMG”), Roc Nation Publishing LLC d/b/a Songs of Roc Nation (“Roc Nation”), Songs

of Universal, Inc. (“Universal”), and Warner-Tamerlane Publishing Corp (“Warner-Tamerlane”)
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(collectively, “Defendants”), alleges, on knowledge as to his own actions, and otherwise on

information and belief, as follows:

                               PRELIMINARY STATEMENT

       1.      Nwosuocha brings this action seeking injunctive and monetary relief for

Defendants’ infringement via direct and/or indirect copying of Nwosuocha's copyright in

Nwosuocha’s song entitled “Made in America” (the "Copyrighted Work"), which Nwosuocha

registered with the U.S. Copyright Office on May 24, 2017 and owns full copyright in.

       2.      The crux of the claims in this action brought pursuant to the to the Copyright Act

of 1976, as amended (the “Copyright Act”), 17 U.S.C. §§ 101 et seq. is that there are substantial

similarities between the Copyrighted Work and the song “This is America,” which was released

pseudonymously by Defendant Glover under his musical stage name, Childish Gambino.

Specifically, the substantial similarities between both songs include, but are not limited to,

nearly-identical unique rhythmic, lyrical, and thematic compositional and performance content

contained in the chorus – or “hook” – sections that are the centerpieces of both songs.

       3.      Defendants are the writers, producers, performers, record labels, publishers,

distributors, managers, administrators, and/or distributors of the infringing work “This is

America” (the “Infringing Work”).

       4.      In or about early September, 2016 Nwosuocha wrote and created the Copyrighted

Work. Nwosuocha subsequently displayed the Copyrighted Work to the public on September 11,

2016 by uploading it to popular streaming platform Soundcloud, where end users were allowed

to listen to the song on the Soundcloud platform as a free stream. Nwosuocha later again publicly

displayed the Copyrighted Work by uploading it, accompanied by a music video, to YouTube on

or about November 9, 2016, where end users were allowed to listen to the song on the YouTube




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platform as a free stream. A screenshot reflecting these initial two public displays of the

Copyrighted Work by Nwosuocha is annexed hereto as EXHIBIT A.

        5.      Subsequent to publicly displaying the Copyrighted Work on Soundcloud and

YouTube, Nwosuocha registered his full and exclusive copyright in the Copyrighted Work with

the U.S. Copyright Office on May 24, 2017 in advance of the Copyrighted Work’s first

publication. The Copyrighted Work would be published for the first time as the lead single for

his then-unpublished album entitled “Eleven: The Junior Senior Year” (the “Album”), which he

also owns full copyright to. The Certificate of Copyright reflecting the foregoing registration is

annexed hereto as EXHIBIT B. Nwosuocha is the owner of all copyrights in the Copyrighted

Work.

        6.      Since creating the Copyrighted Work and fixing it to a tangible medium,

Nwosuocha has published, distributed, advertised, licensed, performed, publicly displayed, and

sold the Copyrighted Work in the United States by, among other means, uploading the

Copyrighted Work to all major music streaming platforms, including YouTube, Apple Music,

Spotify, Tidal, and Soundcloud, and by selling downloadable digital copies of the Copyrighted

Work.

        7.      All of the claims asserted herein arise out of and are based on Defendants’

copying, reproduction, distribution, public display, performance, sale, licensing, marketing,

promotion and/or other exploitation of the Copyrighted Work without Nwosuocha's consent.

Nwosuocha sues for copyright infringement under the United States Copyright Act of 1976, as

amended (the "Copyright Act"), 17 U.S.C. § 101 et seq.




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       8.      Nwosuocha seeks all remedies afforded to him by the Copyright Act, including

preliminary and permanent injunctive relief, Nwosuocha's damages and Defendants’ profits from

Defendants’ infringing conduct, and other monetary relief.

                                 JURISDICTION AND VENUE

       9.      This court has jurisdiction over this copyright infringement action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because this action arises under the Copyright Act. Federal Courts

have exclusive jurisdiction over such claims pursuant to 28 U.S.C. § 1331.

       10.     This court has personal jurisdiction over the enumerated Defendants because they

have directed their infringing activities with respect to the Infringing Work to New York

residents, and New York residents are able to purchase, download, and stream the Infringing

Work and works that are derivative of the Infringing Work.

       11.     Defendants have engaged in systematic and continuous business activities,

including those relating to the Infringing Works, in New York. As such, the Defendants have

engaged in continuing business activities in the instant jurisdiction.

       12.     Defendants are, at minimum, constructively aware of their continuous and

substantial commercial interactions with New York residents.

       13.     Defendant Glover has performed, and he and the other Defendants have

authorized, organized, and promoted performances of the Infringing Work in New York.

       14.     The Defendants have generated touring and recording revenues from the

unauthorized and unlawful exploitation of the infringing work, including receiving substantial

revenue from such exploitation in New York. They have advertised the Infringing Works to New

York residents.




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        15.     The Defendants, individually and collectively, have generated substantial revenue

from the exploitation of the infringing works in New York.

        16.     New York has a considerable interest in adjudicating disputes wherein New York

residents are the target of the harm resulting from exploitation of the infringing work

        17.     Venue is proper in this district under 28 U.S.C. §§ 1391(b), 1391(c) and 1400(a)

because Defendants maintain offices in and are subject to personal jurisdiction in this Judicial

District and have committed unlawful acts of infringement in this judicial district, and because a

substantial part of the events giving rise to the within claims occurred in this judicial district.

                                              PARTIES

        18.     Nwosuocha is an individual who resides in and is a citizen of Miami-Dade

County, Florida. Nwosuocha is a musician, singer, vocalist, songwriter, and producer who

disseminates and/or performs his musical works under the pseudonym/stage name “Kidd Wes.”

Nwosuocha is further engaged in, among other things, conducting the business of publicly

performing, distributing, selling, marketing, licensing, promoting, and/or otherwise exploiting

his musical works.

        19.     Upon information and belief, Defendant Glover resides in Los Angeles County,

California. Among other ventures, Defendant Glover is an American singer, songwriter, and

rapper who releases music under the stage name Childish Gambino, and who caused the public

release of the Infringing Work on May 6th, 2018, and who has since then has caused the

Infringing Work to be widely published distributed, performed, licensed, displayed, marketed,

promoted, reproduced, copied and/or otherwise exploited. Upon further information and belief,

Defendant Glover has derived substantial revenues and/or profits from the exploitation of the

Infringing Work.




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       20.     Upon information and belief, Defendant Kobalt Music is a Delaware corporation

in the business, among others, of music publishing, with a principal place of business in New

York, New York. Upon further information and belief, Kobalt Music is one of the publishers of

the Infringing Work, has been responsible for, among other things, coordinating publishing,

administrative, and creative support services with respect to the Infringing Work. Upon further

information and belief, Defendant Kobalt Music has derived substantial revenues and/or profits

from the exploitation of the Infringing Work.

       21.     Upon information and belief, Defendant Sony Music is a major global music

company that produces, manufactures, publishes, licenses, distributes, administers, markets,

and/or exploits prerecorded music, among other business ventures. Upon further information and

belief, Defendant Sony Music is the parent entity that owns Defendant RCA. Upon further

information and belief, Defendant Sony Music has assisted in and/or directly facilitated, among

other things, the publication, licensing, promotion, reproduction, sale and/or exploitation of the

Infringing Work. Upon further information and belief, Defendant Sony Music conducts

systematic and continuous business in this district and has derived substantial revenues and/or

profits from the exploitation of the Infringing Work.

       22.     Upon information and belief, Defendant RCA is an unincorporated division of

Sony Music that does regular business in New York and maintains an office in New York.

Defendant RCA is the record label entity to which Defendant Glover is signed for the purposes

of creating, producing, manufacturing, publishing, licensing, distributing, performing,

displaying, marketing, promoting, and/or otherwise exploiting the music he creates, writes and/or

performs under his stage name Childish Gambino, including the Infringing Work. Upon

information and belief, Defendant RCA has assisted in and/or directly facilitated, among other




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things, the publishing, licensing, administration, distribution, dissemination, and/or the

exploitation of the Infringing Work, and has caused copies of the Infringing Work to be widely

published, distributed, performed, displayed, marketed, promoted, reproduced, copied and/or

otherwise exploited to the public. Upon further information and belief, Defendant RCA has

derived substantial revenues and/or profits from the exploitation of the Infringing Work.

       23.     Upon information and belief, Defendant Williams resides in Fulton County,

Georgia. Among other ventures, Defendant Williams is an American singer, songwriter, and

rapper who releases music under the stage name Young Thug, who regularly does business in

New York, and who is credited as a writer of the Infringing Work and who vocally performs on

the Infringing Work. Defendant Williams has caused the Infringing Work to be widely

published, distributed, licensed, performed, displayed, marketed, promoted, reproduced, copied

and/or otherwise exploited. Upon information and belief, Defendant Williams has derived

substantial revenues and/or profits from the exploitation of the Infringing Work.

       24.     Upon information and belief, Defendant YSL is a Georgia limited liability

company whose principal and sole member is Defendant Williams, and which functions as

Defendant Williams’ publishing imprint. Upon further information and belief, Defendant YSL

has caused the Infringing Work to be widely published, distributed, licensed, performed,

displayed, marketed, promoted, reproduced, copied and/or otherwise exploited, and has derived

substantial revenues and/or profits therefrom.

       25.     Upon information and belief, Defendant 300 is a Delaware limited liability

company doing regular business in New York, and with a principal place of business in New

York, New York. Upon further information and belief, Defendant 300 is the record label to

which Defendant Williams is signed for the purposes of creating, producing, manufacturing,




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publishing, licensing, distributing, performing, displaying, marketing, promoting, and/or

otherwise exploiting the music he creates, writes and/or performs under his stage name Young

Thug, including the Infringing Work, and is the record label that has acted as the distributor for

music released and/or published through Defendant YSL’s imprint. Upon further information

and belief, Defendant 300 has assisted in and/or directly facilitated, among other things, the

publishing, licensing, administration, distribution, dissemination, and/or the exploitation of the

Infringing Work, and has caused copies of the Infringing Work to be widely published,

distributed, performed, displayed, marketed, promoted, reproduced, copied and/or otherwise

exploited to the public. Upon further information and belief, Defendant 300 has derived

substantial revenues and/or profits from the exploitation of the Infringing Work.

       26.     Upon information and belief, Defendant Atlantic is a Delaware corporation with

offices in, and doing regular business in, the State of New York. Upon further information and

belief, Defendant Atlantic has acted as the distributor of all music distributed by and through

Defendant 300, including the Infringing Work. Upon further information and belief, Defendant

Atlantic has assisted in and/or directly facilitated, among other things, the publishing, licensing,

administration, distribution, dissemination, and/or the exploitation of the Infringing Work, and

has caused copies of the Infringing Work to be widely published, distributed, performed,

displayed, marketed, promoted, reproduced, copied and/or otherwise exploited to the public.

Upon further information and belief, Defendant Atlantic has derived substantial revenues and/or

profits from the exploitation of the Infringing Work.

       27.     Upon information and belief, Defendant WMG is a major global music

corporation organized under the laws of Delaware with its principal offices in New York, New

York. Defendant Upon further information and belief, WMG is the parent company Defendant




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Atlantic, and Defendant WMG has assisted in and/or directly facilitated, among other things, the

publishing, licensing, administration, distribution, dissemination, and/or the exploitation of the

Infringing Work, and has caused copies of the Infringing Work to be widely published,

distributed, performed, displayed, marketed, promoted, reproduced, copied and/or otherwise

exploited to the public. Upon further information and belief, Defendant WMG has derived

substantial revenues and/or profits from the exploitation of the Infringing Work.

       28.     Upon information and belief, Defendant Göransson resides in Los Angeles

County, California. Among other ventures, Defendant Göransson is a music producer who is

credited as a writer of the Infringing Work, whose composition and performance of the

instrumental track that underlies the Infringing Work is embodied within the Infringing Work,

and who does regular business in New York. Upon further information and belief, Defendant

Göransson has caused the Infringing Work to be widely published, distributed, licensed,

performed, displayed, marketed, promoted, reproduced, copied and/or otherwise exploited. Upon

information and belief, Defendant Göransson has derived substantial revenues and/or profits

from the exploitation of the Infringing Work.

       29.     Upon information and belief, Defendant Roc Nation is a Delaware limited

liability company doing regular business in New York, and with a principal place of business in

New York, New York. Upon further information and belief, Defendant Roc Nation is the record

label to which Defendant Göransson is signed for the purposes of creating, producing,

manufacturing, publishing, licensing, distributing, performing, displaying, marketing, promoting,

and/or otherwise exploiting the music he creates, writes and/or performs under his given name,

including the Infringing Work. Upon further information and belief, Defendant Roc Nation has

assisted in and/or directly facilitated, among other things, the publication, reproduction,




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licensing, administration, distribution, dissemination, and/or the exploitation of the Infringing

Work, and has caused copies of the Infringing Work to be widely published, distributed,

performed, displayed, marketed, promoted, reproduced, copied and/or otherwise exploited to the

public. Upon further information and belief, Defendant Roc Nation has derived substantial

revenues and/or profits from the exploitation of the Infringing Work.

       30.     Upon information and belief, Defendant Universal is a corporation organized

under the laws of the State of California registered and doing regular business in the State of

New York as a foreign business corporation. Upon further information and belief, Defendant

Universal has acted as the distributor of music distributed and/or published by and through

Defendant Roc Nation that includes the Infringing Work. Upon further information and belief,

Defendant Universal has assisted in and/or directly facilitated, among other things, the

publishing, licensing, administration, distribution, dissemination, and/or the exploitation of the

Infringing Work, and has caused copies of the Infringing Work to be widely published,

distributed, performed, displayed, marketed, promoted, reproduced, copied and/or otherwise

exploited to the public. Upon further information and belief, Defendant Universal has derived

substantial revenues and/or profits from the exploitation of the Infringing Work.

       31.     Upon information and belief, Defendant Warner-Tamerlane is a corporation

organized under the laws of the State of California registered and doing regular business in the

State of New York as a foreign business corporation. Upon further information and belief,

Defendant Warner-Tamerlane has acted as the publisher and/or distributor of music published

and/or distributed by and through Defendant Roc Nation and Defendant Atlantic, including the

Infringing Work. Upon further information and belief, Defendant Warner-Tamerlane has assisted

in and/or directly facilitated, among other things, the publishing, licensing, administration,




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distribution, dissemination, and/or the exploitation of the Infringing Work, and has caused copies

of the Infringing Work to be widely published, distributed, performed, displayed, marketed,

promoted, reproduced, copied and/or otherwise exploited to the public. Upon further information

and belief, Defendant Warner-Tamerlane has derived substantial revenues and/or profits from the

exploitation of the Infringing Work.

                                                FACTS

       A.      Plaintiff and his Copyrighted Work

       32.     Nwosuocha wrote the Copyrighted Work, and thereafter fixed it to a tangible

medium by recording his performance of the Copyrighted Work, in or about early September of

2016. Nwosuocha has since then continued to retain ownership of the full and exclusive

copyright in the Copyrighted Work, and registered his full ownership of copyright in the

Copyrighted work with the U.S. Copyright Office on May 24th, 2017, prior to its publication.

Nwosuocha accomplished registering his full copyright ownership in the Copyrighted Work by

registering on May 24th, 2017 his full copyright ownership of the entirety of his then-

unpublished album entitled “Eleven: The Junior Senior Year” (the “Album”), on which the

Copyrighted Work was included.

       33.     Subsequent to registering his full copyright to the entirety of the fully-

unpublished Album on May 24th, 2017, Nwosuocha made the first publication of the

Copyrighted Work as a purchasable lead single to the Album. This initial publication of the

Copyrighted Work occurred on or about June 8th, 2017.

       34.     As a result of the foregoing, Nwosuocha owns any and all copyright rights in the

Copyrighted Work.




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        35.    The Copyrighted Work is wholly original, and Nwosuocha is the lawful exclusive

owner of all rights, title, and interest, including all rights under copyright, in the Copyrighted

Work.

        36.    Nwosuocha is the owner of valid and subsisting United States Copyright

Registration No. SRu 1-301-922 for the Copyrighted Work, issued by the United States

Copyright Office on May 24th, 2017. See Ex. B.

        37.    As previously set forth, Nwosuocha has published, distributed, licensed,

displayed, sold, performed, promoted, marketed and/or otherwise exploited the Copyrighted

Work by, among other means, uploading the Copyrighted Work to all major music streaming

platforms, including YouTube, Apple Music, Spotify, Tidal, and Soundcloud, and by selling

copies of the Copyrighted Work.

        B.     Defendants’ Infringing Conduct

        38.    Defendants Glover, Williams, and Göransson are credited as the writers of the

Infringing Work, “This is America,” which publicly-accessible records filed by and/or on behalf

of the Defendants affirmatively state was created in 2018.

        39.    The Infringing Work, which won the 2019 Grammy for Record of the year and

has continuously generated massive amounts of revenue, praise, and publicity since its initial

public release, is centered on a chorus, or “hook,” wherein Defendant Glover recorded his vocal

performance of the rapping of the chorus’ lyrics while employing a distinct and unique vocal

cadence, delivery, rhythm, timing, phrasing, meter and/or pattern – or a “flow,” as the various

elements making up a vocal performance are known and referred to in the realm of hip-hop

music. The distinctive flow employed in Defendant Glover’s recorded performance of the

Infringing Work’s chorus, which is the musical centerpiece of the Infringing Work and forms the




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namesake for the Infringing Work’s song title, is unmistakably substantially similar, if not

practically identical, to the distinct and unique flow that was employed by Nwosuocha in

recording his vocal performance of his rapping of the hook to his Copyrighted Work.

       40.     In addition to the substantially similar unique “flow” employed first in the

Copyrighted Work and almost two years later in the Infringing Work, the lyrical theme, content,

and structure of the identically-performed choruses are also glaringly similar. In the chorus to the

Copyrighted Work, as first made available by Nwosuocha on major streaming platforms for

widespread public listening as early as September 11th, 2016, Nwosuocha’s lyrical refrain is:

               “Made in America
               Flex on the radio
               Made me a terrorist
               Pessimistic n***as
               You should just cherish this”

Similarly, in the later-released Infringing Work, as created in 2018 and released on May 6th,

2018, the hook’s central lyrical refrain, which is repeated and reincorporated throughout the song

with occasional minor variances in the specific words rapped is:

               “This is America
               Guns in my area
               I got the strap
               I gotta carry ‘em”

               - or -

               “This is America
               Don’t catch you slippin’ now
               Don’t catch you slippin’ now
               Look what I’m whippin’ now”

       41.     The unmissable substantial similarity of the two flows used in the songs’

respective hooks, as augmented by the two hooks’ substantially similar structure and lyrical

content, is striking to an extent beyond coincidence and is accordingly audible to the average lay




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person who listens to both songs. Indeed, a number of end users from the general public who

have listened to the Copyrighted Work as uploaded by Nwosuocha to major streaming platforms

have left comments on the Copyrighted Work explicitly noting their opinions as members of the

disinterested listening general public that the Infringing Work represents a clear infringement of

the Copyrighted Work. For example, on major streaming platform SoundCloud, one listener

commented on Nwosuocha’s posting of the Copyrighted Work for public streaming: “Gambino

ripped this shit off you G.” Other examples, which appear in the comment section of

Nwosuocha’s upload of the Copyrighted Work’s music video to YouTube for public streaming,

include one listener commenting “Childish gambino gotta give you creds for the flow and

everything” and another listener commenting “anyone gonna ask Childish Gambino about this

song???” Annexed hereto as EXHIBIT C are screenshots containing the relevant portions of the

comment sections of Kidd Wes’ “Made in America,” as uploaded to SoundCloud and YouTube,

reflecting the foregoing examples of comments made by the listening public.

       42.     Beyond the fact that the striking substantial similarities between the Copyrighted

Work and the Infringing Work are manifestly audible to listening lay persons of the general

public, the striking substantial similarities are also qualifiable and quantifiable from a scientific

perspective. Esteemed University of Miami Musicologist Dr. Brent Swanson (“Dr. Swanson”)

has undertaken an investigation into the similarities between the Copyrighted Work and the

Infringing Work and concluded in his investigation’s report as follows:

       “This report has detailed the thematic, lyrical, visual, rhythmic, and melodic
       similarities between the music videos ‘Made in America’” by Kidd Wes, and ‘This
       is America,’ by Childish Gambino. The videos and lyrics share the themes of gun
       violence, and oppression of African-Americans and People of Color by police, the
       political establishment, conservative organizations (in particular the NRA and the
       GOP), White nationalism (Charleston shooting), and racist structures in the U.S.
       They also use of imagery related to Blackface Minstrelsy (Jim Crow, Coon, and
       Uncle Tom), and deride stereotypical Black culture in an ironic way to poke fun


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       at and bring attention to the aforementioned racist power structures in the U.S or
       Whiteness. There are distinct similarities in melodic contour, rhythmic triplet flow
       in each performance, and the lines ‘Made in America’ and ‘This is America’ line-
       up nearly perfectly in time despite being different tempos. They also both use
       rhythmic utterances in their performances. It is authors’ opinion that these
       similarities are likely not coincidences.”

       See Dr. Swanson’s Report annexed hereto as EXHIBIT D at 15. (emphasis added).

       43.     In arriving at the above expert conclusion, Dr. Swanson, among other things,

conducted an in-depth forensic sonic analysis and comparison of the audio making up the two

songs. Based on his analysis and comparison of the two songs’ audio using a number of

scientific methods of audio analysis, Dr. Swanson determined that the songs’ hooks are

substantially similar from a scientific qualifiable and quantifiable perspective. See id. at 9-15.

       44.     When viewed in light of the fact that the Copyrighted Work had been made

continuously widely publicly accessible by Nwosuocha significantly before the Infringing Work

was created and/or released, the clearly audible (and scientifically-confirmed) substantial

similarity between the Copyrighted Work and the Infringing Work cannot be reasonably ascribed

to mere coincidence. Indeed, as has been opined by Dr. Swanson and a number of commenting

members of the disinterested listening general public, the clear substantial similarity between the

works is most reasonably ascribable to Defendants’ willful unauthorized infringement of the

Copyrighted Work that was widely and continuously publicly accessible, and copyrighted, well

before the Infringing Work was ever released to the public.

       45.     Despite the foregoing unauthorized copying of the Copyrighted Work in the

Infringing Work, on or about May 6th, 2018, the Infringing Work was publicly released for the

first time when: (a) Defendant Glover performed it on television while hosting Saturday Night

Live; and (b) simultaneously, or soon thereafter, upon information and belief, Defendants

Glover, Kobalt Music, Sony Music and RCA, as administrators and/or managers of Defendant



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Glover’s music, caused a music video (the “Infringing Work Music Video”) derivative of and

accompanying the Infringing Work to be uploaded to his “Donald Glover” official YouTube

channel for public streaming.

       46.     The Infringing Work and the derivative Infringing Work Music Video were an

instant sensation of historical proportions. In an article published online on May 9th, 2018

Billboard reported that the Infringing Work Music Video had been viewed nearly one million

times on the “Donald Glover” YouTube channel within the first hour of its public release, had

amassed 12.9 million views within the first twenty-four hours of its initial release, and had

reached over 50 million views at the time of reporting (just a few days after the initial release).

Nerisha Penrose, “Childish Gambino's Record-Breaking 'This Is America' Video Hits 50 Million

Views in Mere Days,” Billboard, May 9, 2018, https://www.billboard.com/articles/columns/hip-

hop/8455253/childish-gambino-breaks-his-youtube-record-this-is-america-video.

       47.     As of the date of the within, the Infringing Work Music Video remains uploaded

to the Donald Glover YouTube channel for public streaming and has a total view count of

approximately 772.4 million views since its upload on May 6th, 2018.

       48.     Beyond the unprecedented astronomical number of streams that the Infringing

Work and the Infringing Work Music Video garnered instantly after Defendants Glover, Kobalt

Music Sony Music, and RCA first publicly released both, the Infringing Work quickly began

receiving widespread critical acclaim that often specifically referenced and praised the infringing

flow, structure, and/or lyrical content and themes of the Infringing Work’s hook. For example, in

a glowing song review of the Infringing Work published on May 7th, 2018 by Pitchfork (one of

the best-known and most influential music review outlets in the world), contributor Stephen

Kearse noted of the sonics of Defendant Glover’s vocal performance in the Infringing Work that:




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       “’This Is America,’ then, is a bit of a reset. Here, [Glover] uses the ambivalent
       reception of black art to represent the tightrope of being black. Built on the sharp
       contrast between jolly, syncretic melodies and menacing trap cadences, the song
       presents Childish Gambino as confident and cutting. ‘This is America!’ he chants
       as the song swings between harmony and discord … Glover’s voice bridges the
       two worlds, dropping to an austere deadpan for his rapping and ascending to a
       syrupy coo for his singing. ‘Don’t catch you slippin’ up,’ Glover warns as he
       pulls off the balancing act with ease …”

       Stephen Kearse, “Childish Gambino - This is America,” Pitchfork, May 7, 2019,

https://pitchfork.com/reviews/tracks/childish-gambino-this-is-america/ (emphasis added).

       49.     Similarly, writing for Vulture (one of the world’s foremost entertainment news

outlets), and echoing Dr. Swanson’s descriptions of certain unique lyrical/thematic/vocal

elements from the Copyrighted Work that he found were strikingly substantially copied in the

Infringing Work, Frank Guan specifically commented on the lyrics, thematic elements, and vocal

performances embodied in the Infringing Work:

       “… with its cash-grabbing, fashion-mongering, gun-waving, drug-slinging
       rhetoric delivered in a clipped triplet flow, the song is a trap number in all but
       name. The incongruousness of Glover, raised middle-class and a NYU graduate,
       bragging about his Mexican drug supplier and threatening to have you gunned
       down, is intentional: it’s a tribute to the cultural dominance of trap music and a
       reflection on the ludicrous social logic that made the environment from which
       trap emerges, the logic where money makes the man, and every black man is a
       criminal.”

       Frank Guan, “What It Means When Childish Gambino Says ‘This Is America,’” Vulture,

May 8, 2018, https://www.vulture.com/2018/05/what-it-means-when-childish-gambino-says-

this-is-america.html (emphasis added).

       50.     The Infringing Work reportedly debuted at number one in the Billboard Hot 100

chart after selling 78,000 downloadable copies and garnering 65.3 million U.S. streams within its

first week of release, remained number one on the Billboard Hot 100 for two weeks, and

remained in the top ten of the Billboard Hot 100 for a total of five weeks.




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       51.     The immediate sensation of the Infringing Work and the derivative Infringing

Work Music Video spanned well beyond the United States in scope and extent. As reported by

Billboard in an article published on August 2nd, 2018, many derivative works, or “remixes,” of

the Infringing Work and/or the Infringing Work Music Video began to be disseminated on a

global scale by musicians hailing from countries all over the world in the few months following

the initial public release of the Infringing Work and the Infringing Work Music Video. See

EXHIBIT E annexed hereto, Gil Kaufman, “This Is Earth: Watch 12 Global Remixes of

Childish     Gambino's      'This     Is     America',”    Billboard,     Aug.     2,     2018,

https://www.billboard.com/articles/columns/hip-hop/8468356/this-is-america-global-remixes-

childish-gambinos-india-brazil-iraq-india.

       52.     In keeping with the prevailing musical custom for “remixes” within the hip-hop

music genre (to which both the Copyrighted Work and the Infringing Work belong), the vast

majority of these international derivative works remixing the Infringing Work have substantially

featured identical copies of the compositional and performance elements embodied in the

Infringing Work - including those the Defendants copied from the Copyrighted Work without

authorization - except that in many instances the specific words in the Infringing Work’s lyrics

were swapped out in the remixes for the international remixers own chosen words.

       53.     Indeed, in a number of the more well-known examples of these international

derivative remix works, the international remixers/rappers who created and disseminated their

own remixes of the Infringing Work rapped over substantially the exact backing instrumental (or

“beat,” in hip-hop parlance) of the Infringing Work, and did so deliberately employing the same

distinct and unique cadences, delivery (or deliveries), and/or phrasing(s) of the vocal

performance(s) embodied in the original recording of the Infringing Work, including those




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distinct and important vocal elements copied without authorization from the Copyrighted Work.

The central musical idea underlying these examples of the international derivative remixes was

to substantially sonically remake the Infringing Work but to do so rapping lyrics specifically

referencing the remixer’s own home country instead of America. Each of any such derivative

remix of the Infringing Works has thus been, by design, patently referential to and promotional

of the Infringing Work, and has also necessarily constituted a widespread international public

distribution and/or exploitation of the Infringing Work.

       54.     For all intents and purposes, the phenomena of these international derivative

remixes, including the attendant major media outlet coverage, has functioned as a massively

effective low-budget global advertisement campaign for the Infringing Work and Defendants’

various lucrative infringing endeavors with respect to the Infringing Work.

       55.     In addition to globally promoting, advertising, and/or otherwise facilitating the

Defendants’ continuing infringement of the Copyrighted Work, because many of the

international derivative remixes, by design, used the same vocal elements wrongfully and

unlawfully copied by Defendants from the Copyrighted Work, those international derivative

remixes themselves represent infringements of the Copyrighted Work.

       56.     Some examples of the infringing international derivative remixes described in the

foregoing have garnered significant streams and international fame in their own rights. For

instance, Nigerian rapper Falz’s infringing derivative remix “This is Nigeria” has been streamed

on YouTube approximately 20.1 million times to date, and has been reported on by NPR and

CNN, amongst other preeminent global news outlets. In another example, Dubai-based Iraqi

rapper I-NZ’s infringing derivative remix “THIS IS IRAQ” has been streamed on YouTube

approximately 7.9 million times to date, has been reported to have amassed 350 million streams




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overall, and has been the subject of reports by Newsweek, amongst other notable major media

outlets. As further evidence highlighting the direct benefits Defendants have enjoyed as a direct

result of these infringing derivative remixes of their Infringing Work, on the popular major

online music streaming/purchase platform BandCamp, “THIS IS IRAQ” is made available by the

rapper I-NZ for free streaming and for digital download with an express acknowledgement and

disclaimer from I-NZ that “All rights to the musical composition belong to Childish Gambino

and the record label GlassNote Records,” and additionally includes the name Childish Gambino

in the posting’s tagline. A screenshot of “THIS IS IRAQ,” as uploaded to BandCamp by I-NZ,

reflecting the foregoing is annexed hereto as EXHIBIT F.

       57.       Upon information and belief, none of the Defendants have caused any of the more

popular/widely-consumed examples of the international derivative remixes to be removed from

YouTube. Upon further information and belief, all of the Defendants have possessed the

presumptive ability to cause the aforesaid international derivative remixes to be taken down from

YouTube, pursuant to YouTube’s DMCA copyright takedown policy, because the Defendants

are all either: (a) parties with registered writing and/or publishing interests in and to the

Infringing Work; and/or (b) are major parent record corporations, distribution companies, and/or

publishing companies who are responsible for the administration and/or management of the

Infringing Work and the registered writing and/or publishing interest therein.

       58.       As a further testament to the tremendous global scale on which the Infringing

Work has been disseminated and exploited, to date the Infringing Work has been reportedly been

Certified:

              a. three-times Platinum in the U.S. (3,000,000 Certified Units/Sales);

              b. three-times Platinum in Australia (210,000 Certified Units/Sales);




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             c. three-times Platinum in Canada (240,000 Certified Units/Sales);

             d. Platinum in Poland (20,000 Certified Units/Sales);

             e. Gold in France (100,000 Certified Units/Sales);

             f. Gold in New Zealand (15,000 Certified Units/Sales); and

             g. Gold in the United Kingdom (40,000 Certified Units/Sales).

       59.      In addition to garnering massive numbers of streams and/or sales, as well as

spawning a swath of infringing derivative international works that furthered the Infringing

Work’s dissemination and themselves generated significant streams and/or sales, upon

information and belief, the Infringing Work has also been exploited by the Defendants via other

means, such as via live performance and via audiovisual synchronization licensing.

       60.      For example, in a notable instance of audiovisual synchronization licensing of the

Infringing Work, the Infringing Work, including its infringing hook, can be heard prominently

featured as a musical score appearing in the 2019 film “Guava Island,” which was/is distributed

by Amazon Prime Video, stars Defendant Glover alongside global pop phenom Rihanna, has

been the subject of much widespread publicity and promotion, and remains widely streamable by

the public via Amazon Prime’s streaming service. Upon information and belief, since the date of

its public release in the U.S., “Guava Island” has also been accessible for public streaming in

numerous foreign countries including Brazil, Germany, Singapore, France, and Canada, among

others. Upon further information and belief, as parties who possess and/or control and/or

administrate the registered writing and publishing interests in the Infringing Work, all of the

Defendants have reaped significant revenues and profits derived from this international

synchronization license.




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       61.     Though the exact extent to which Defendants Glover, Williams, and/or Göransson

have individually and/or jointly publicly participated in live performances of the Infringing Work

may not be fully ascertainable by Nwosuocha until discovery in this action is complete, it is

presently known that, in 2018 through 2019, Defendant Glover went on the international “This is

America Tour.” During the tour, which was named/branded after the Infringing Work, upon

information and belief as well as publicly-available setlists/recordings, Defendant Glover gave

live performances of the Infringing Work approximately thirty to thirty-five separate times at

concerts dates spanning the United States and various locations in Canada, Australia, England,

and France.

       62.     It is not yet known to Nwosuocha precisely how many total concert tickets were

sold during the entire span of the This is America Tour, or precisely how much gross revenue

was generated from the total sales from the entire span of the tour. Nonetheless, publicly-

available concert box office data reported by Billboard, which does not include sales/revenue

data for the majority of the venues where Defendant Glover performed during the tour, makes

presently knowable that the This is America Tour garnered approximately 190,707 total concert

ticket sales, resulting in a total gross revenue of $16,286,160.00, from the tour performances that

occurred in just twelve out of the thirty total venues that hosted the tour. Because the foregoing

astronomical $16,286,160.00 gross revenue figure represents roughly just 40% (12 out of 30 tour

venues) of the entire tour, it is reasonable to assume that the tour’s total gross revenue, derived in

significant part from Defendants’ infringing use of the Copyrighted Work in the Infringing

Work, far exceeds this figure. Upon further information and belief, as the parties who possess

and/or control and/or administrate the writing and publishing interests in the Infringing Work, all

of the Defendants have reaped significant revenues and profits derived from the tour.




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       63.     Upon information and belief, the Infringing Work was also merchandised in tour

merchandise sold during the tour, and Defendants have derived revenue from this merchandising.

       64.     Upon information and belief, the Infringing Work has also been performed live

outside the context of the This is America Tour, including, but not necessarily limited to, at the

2018 BET Awards.

       65.     Upon information and belief, Defendants Kobalt Music, RCA, Sony Music, YSL,

300, Atlantic, WMG, Roc Nation, Universal, and Warner-Tamerlane (collectively, the “Label

Defendants”) have individually and jointly been responsible for the continuing administration,

display, reproduction, distribution, performance, sale, marketing, promotion, and/or other

exploitation of the Infringing Work. Upon further information and belief, the Label Defendants’

joint and individual infringing conduct in this regard extends to conduct that continues to

infringe upon Nwosuocha’s full ownership of the copyright to the Copyrighted Material,

including, but not limited to, the various examples infringing conduct described above. For

instance, as just one example of Defendant RCA’s, and its parent company Defendant Sony

Music’s, role in carrying out and furthering the continuing infringement of Nwosuocha’s

Copyrighted Work is a press release dated May 6th, 2018 posted publicly to Defendant RCA’s

official website, wherein Defendant RCA: directly promotes both the Infringing Work and the

derivative Infringing Work Music Video; explicitly solicits public streaming of both the

Infringing Work and the derivative Infringing Work Music Video; and explicitly solicits the

public to purchase copies of the Infringing Work. See the May 6th, 2018 RCA online press

release annexed hereto as EXHIBIT G. In other examples, which are but two of numerous

examples where Defendant Roc Nation’s overtly has furthered the continuing infringement, Roc

Nation’s website directs visitors specifically to stream the “Guava Island” film prominently




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containing the Infringing Work and features a “news” update of the Infringing Work’s Grammy

award. Indeed, upon information and belief, all of the Label Defendants, personally and/or

through their subsidiaries, have overtly promoted and marketed multiple instances of the

continuing infringing use of the Copyrighted Material by way of its unauthorized inclusion in the

Infringing Work.

       66.     Upon further information and belief, the Label Defendants are individually and

jointly responsible for the administration and/or distribution of the various streams of revenue

derived from conduct that continues to infringe upon Nwosuocha’s full ownership of the

copyright to the Copyrighted Material, including, but not limited to, the various examples of

infringing conduct described above.

       67.     Upon information and belief, Defendants Glover, Williams, and Göransson, as the

three parties credited with writing the Infringing Work, have continuously derived significant

financial and professional benefits directly resulting from conduct that continues to infringe upon

Nwosuocha’s full ownership of the copyright to the Copyrighted Material, including, but not

limited to, the various examples of infringing conduct described above.

       68.     Further, Defendants Williams and Göransson both took affirmative public steps to

advance their financial interests as credited writers of the Infringing Work by promoting,

encouraging, and/or soliciting the widespread global dissemination of the Infringing Work.

Illustrative examples of such conduct by Defendants Williams and Göransson include, but are

not limited to, Defendant Williams doing a promotional video piece for major streaming

platform Spotify publicly released on or about May 8th, 2018 that solicited end users to stream

the Infringing Work on Spotify, and Defendant Göransson championing the Infringing Work as a

song that “speaks to people; it connects right to your soul. It calls out injustice, celebrates life




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and reunites us all at the same time" directly to the countless viewers of his highly-televised

acceptance speech for the Grammy given to the Infringing Work.

        69.    Upon information and belief, as a direct result of the streaming, licensing, sale,

derivative streaming/licensing/sale/exploitation, synchronization licensing, live performance,

reproduction, marketing, promotion, and/or other exploitation of the Infringing Work, all

Defendants have wrongfully benefited, and continue to wrongfully benefit, from their continued

wrongful uses of Infringing Work and/or the derivative Infringing Work Music Video that both

include material to which Nwosuocha owns full copyrights. Because the foregoing sets forth

only that portion of Defendants’ infringing conduct that has been reasonably discoverable and

ascertainable to Nwosuocha in the time since the Defendants’ infringing conduct first became

public on May 6th, 2018, the foregoing likely may only represent a portion of the totality of the

infringing conduct for which Defendants are liable to Nwosuocha either on individual and/or

joint bases.

        70.    On December 7th, 2020 Nwosuocha's undersigned counsel sent a letter to

Defendants Glover, Williams, Göransson, Sony, and RCA in order to put the Defendants on

formal notice of Nwosuocha’s objection to the Defendants’ unauthorized and infringing

reproduction, publication, promotion, distribution, license, public display, sale and/or

exploitation of the Copyrighted Work. The letter also, in good-faith, sought to provide the

Defendants an opportunity to discuss a pre-suit resolution to the issue of their continuing

infringement that may have avoided the need for Nwosuocha’s within resort to the courts.

Annexed hereto as EXHIBIT H is a true and correct copy of Nwosuocha's counsel's December

7th, 2020 letter to Defendants.




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       71.    Nwosuocha’s counsel received no response to the December 7th, 2020 letter from

any of the Defendants except Defendant Glover, whose counsel, Jonathan D. Davis, Esq. (“Mr.

Davis”), reached out to the undersigned to ask for materials supporting Nwosuocha’s copyright

claims, such as Dr. Swanson’s report, for Defendant Glover’s review. On February 16th, 2021,

given that Defendant Glover had opened the lines of communication but still had failed to

demonstrate an intent to cure, or even temporarily mitigate, the continuing global infringement

of Nwosuocha’s Copyrighted Work, the undersigned sent Mr. Davis a cease and desist letter

demanding that Defendant Glover immediately cease all of his infringing conduct with respect to

the Copyrighted Work, destroy all infringing materials in his possession, custody, and control,

and provide Nwosuocha with a full accounting of all proceeds he derived from the Infringing

Work. Annexed hereto as EXHIBIT I is a true and correct copy of Nwosuocha's counsel's

February 16th, 2021 cease and desist letter. In good-faith, and hoping to convince Defendant

Glover to begin abating the continuing infringement of the Copyrighted Work as soon as

possible, Nwosuocha also soon thereafter provided Mr. Davis with the corroborative materials he

requested for Glover’s review.

       72.    Despite the foregoing two letters sent by Nwosuocha’s counsel, as well as

Nwosuocha’s counsel’s good-faith communications with and informal document disclosure to

Glover’s counsel, to date none of the Defendants have communicated to Nwosuocha any

intention on their parts to cease, desist, and/or otherwise cure any of their continuing willful

infringing conduct with respect to the Copyrighted Work. Nwosuocha is not aware of any

evidence otherwise demonstrating that any of the Defendants have or will cease, desist, and/or

otherwise cure their massive ongoing global infringement of the Copyrighted Work. Given that

the notice provided by Nwosuocha was received by Defendants Glover, Williams, Göransson,




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Sony, and RCA, the remaining co-defendants (as Defendants Glover’s, Williams’, and

Göransson’s publishers and/or record labels and/or distributors, and/or parent corporations

thereof) had reasonable opportunity and cause to learn of Nwosuocha’s notice from Defendants

Glover, Williams, Göransson, Sony Music, and/or RCA. Accordingly, because Nwosuocha’s

notice clearly set forth his objection to the Defendants’ continuing infringement, the Defendants’

continuing infringement after that notice is evidence of the willfulness with which they continue

to engage in their infringement.

        73.     As a result of Defendants’ actions described above, Nwosuocha has been directly

damaged, and is continuing to be damaged, by Defendants’ willful unauthorized and infringing

reproduction, publication, promotion, distribution, license, public display, sale and/or

exploitation of the Copyrighted Work. Defendants have never accounted to or otherwise paid

Nwosuocha for their unauthorized use of the Copyrighted Work.

                       FIRST CAUSE OF ACTION
   (DIRECT, CONTRIBUTORY, AND VICARIOUS COPYRIGHT INFRINGEMENT
                     AGAINST ALL DEFENDANTS)
                         (17 U.S.C. § 101, et seq.)

        74.     Nwosuocha repeats and re-alleges each of the foregoing paragraphs as though

fully set forth herein.

        75.     Nwosuocha is the sole and exclusive owner of the U.S. Copyright in all rights,

titles, and interests in the Copyrighted Work, “Made in America” as written and recorded by

Nwosuocha.

        76.     The Defendants’ unauthorized reproduction, distribution, public performance,

display, creation of derivative works, and other exploitation and/or misappropriation of the

Copyrighted Work infringes Nwosuocha’s exclusive rights in violation of the Copyright Act, 17

U.S.C. § 101 et seq.



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       77.     The Defendants did not seek or receive permission to copy and/or interpolate any

portion of the Copyrighted Work into the Infringing Work, “This is America.”

       78.     The Defendants’ conduct has at all times been knowing, willful, and with

complete disregard for Nwosuocha’s rights.

       79.     As a direct and/or proximate cause of the Defendants’ wrongful conduct,

Nwosuocha has been irreparably harmed.

       80.     The Infringing Work copies quantitatively and qualitatively distinct, important,

and recognizable portions and/or elements of the Copyrighted Work.

       81.     Specifically, the Infringing Work copies distinctive and important vocal elements

of the composition and performance embodied in the Copyrighted Work.

       82.     The central inclusion of the foregoing important vocal elements from the

Copyrighted Work in the Infringing Work has greatly enhanced the musical and financial value

of the Infringing Work.

       83.     From the date of the creation of the Infringing Work, all of the Defendants have

infringed Nwosuocha’s copyright interest in the Copyrighted Work including: (a) by

substantially copying and publicly performing, or authorizing the copying and public

performances, including publicly performing the Infringing Work at radio, live concerts, and on

film, video, television, and otherwise; (b) by authorizing and/or playing a role in the facilitation

of the reproduction, distribution and sale of records and digital downloads containing the

Infringing Work through the execution of licenses, and/or actually selling, manufacturing, and/or

distributing the Infringing Work through various sources; (c) by substantially copying and

participating in the related marketing and promotion of the sale of the records, videos, tickets to

concerts and other performances, and other merchandise; and (d) by participating in and




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furthering the aforementioned infringing acts, and/or sharing in the proceeds therefrom, all

through substantial use of elements of the Copyrighted Work in and as part of the Infringing

Work, packaged in a variety of configurations and digital downloads, mixes and versions, and

performed in a variety of ways including via radio, streaming services, concerts, film, video,

television, and/or otherwise.

        84.     Nwosuocha has received no songwriter credit and no copyright ownership

interests in and for any exploitations of the Infringing Work or any of the works associated with

the Infringing Work.

        85.     The infringement by the Defendants has been, and continues to be, willful and

knowing.

        86.     With knowledge of the infringement, the Defendants have induced, caused, or

materially contributed to the infringing conduct of others, such that they should be found to be

contributorily liable.

        87.     The Defendants had the right and ability to control other infringers and have

derived a direct financial benefit from that infringement such that the Defendants should be

found vicariously liable.

        88.     The infringement is continuing, as the Infringing Work continues to be sold,

licensed, performed, displayed, merchandised, and/or otherwise used and/or exploited by the

Defendants or their agents.

        89.     As a direct and proximate result of the conduct of the Defendants, Nwosuocha has

suffered actual damages including lost profits, lost opportunities, and loss of goodwill, while

Defendants have profited in the amount of hundreds of millions of dollars and to be determined

at trial from their infringement.




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       90.     Pursuant to 17 U.S.C. § 504(b), Nwosuocha is entitled to damages including the

substantial profits of the Defendant, as will be proven at trial.

       91.     In the alternative, pursuant to 17 U.S.C. § 504(c), Nwosuocha is entitled to the

maximum statutory damages of $150,000 per infringement, since the Defendants’ willful and

continuing infringement occurred after Nwosuocha’s full-owned copyrights in the Copyrighted

Work were registered and after the Copyrighted Work had been published and made widely

publicly-accessible.

       92.     Nwosuocha is entitled to his costs, including reasonably attorneys’ fees, pursuant

to 17 U.S.C. § 505.

       93.     Defendants’ conduct is causing, and unless enjoined by this Court, will continue

to cause Nwosuocha irreparable injury that cannot be fully compensated or measured in

monetary terms. Nwosuocha has no adequate remedy at law. Pursuant to 17 U.S.C. § 502,

Nwosuocha is entitled to a permanent injunction prohibiting the reproduction, distribution, sale,

public performance, or other use or exploitation of the Infringing Work, including all derivatives

thereof, in any and all formats, configurations and/or media.

                                      RELIEF REQUESTED

       WHEREFORE, Nwosuocha respectfully requests that judgment be entered against the

enumerated Defendants, as follows:

       A.      A declaration that Defendants have willfully infringed Nwosuocha’s Copyrighted

Work in violation of the Copyright Act;

       B.      A declaration that Defendants are directly, vicariously and/or contributorily liable

for copyright infringement, as applicable;




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       C.         A permanent injunction requiring Defendants and their agents, employees,

officers, attorneys, successors, licensees, partners, and assigns, and all persons acting in concert

or participation with each or any one of them, to cease directly and directly infringing, and

causing, enabling, facilitating, encouraging, promoting, inducing, and/or participating in the

infringement of any of Nwosuocha’s rights protected by the Copyright Act;

       D.         An award of damages pursuant to 17 U.S. § 504(b), including actual damages,

and the profits of the Defendants as will be proven at trial, including all profits and damages

from exploitation of the Copyrighted Work domestically and internationally, as well as any and

all profits and damages in the following categories attributable to the infringement, including but

not limited to:

       (1)        Record sales;
       (2)        Downloads;
       (3)        Ringtones;
       (4)        Ringback tones;
       (5)        Public performance revenues;
       (6)        Digital revenue;
       (7)        Streaming revenue;
       (8)        Synchronization licensing;
       (9)        Merchandising;
       (10)       Public appearances;
       (11)       Endorsements;
       (12)       Sponsorships;
       (13)       Spokesperson work;
       (14)       Touring revenue;
       (15)       Advertising revenue;
       (16)       Appearance fees;
       (17)       Name and likeness income and increase in value;
       (18)       Rights of publicity income and increase in value;
       (19)       Increased value in all Defendants’ publishing and/or record company and/or
                  companies;
       (20)       Increased value of all Defendants’ catalogues;
       (21)       Increased value of music publishing and/or record royalties and rights;
       (22)       Increased value of social media rights, accounts and value;
       (23)       Increased goodwill;
       (24)       Promotional value;
       (25)       Increased value of royalty rate for record deals;



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       (26)     Increased value in distribution deals, negotiating power and reduction in costs;
       (27)     Value of obtaining lower cost of administration fees and/or increased advances
                for publishing deals;
       (28)     Value of obtaining better terms for record company advances and terms and
                multi-record deals;
       (29)     Value of obtaining better terms of publishing and/or recorded master deals for the
                existing catalogue and for future works of Defendants Glover, Williams, and
                Göransson;
       (30)     Increased value in negotiating 360 deals with record companies and/or publishers;
       (31)     Sheet music sales and sheet folio income;
       (32)     Any and all music publisher income;
       (33)     Any and all record master income;
       (34)     Any and all record income;
       (35)     Any and all SoundExchange, BMI, ASCAP, PRS, SESAC, PPL, SOCAN, MCPS,
                Harry Fox Agency, and any and all collection society, mechanical society and
                performance society income worldwide;
       (36)     Any and all producer royalty income;
       (37)     Any and all arrangement income;
       (38)     Any and all income derived from any existing medium or any medium hereinafter
                developed worldwide;
       (39)     Any and all income from any new collection society and/or collection agency to
                be created anywhere in the world, including by the U.S. Congress under the
                Music Modernization Act;
       (40)     Any and all income from any society to which any Defendant belongs or joins in
                the future;
       (41)     Any and all income and/or residuals from SAG-AFTRA;
       (42)     Any and all income from Apple, iTunes, Amazon, Spotify, Pandora, Rhapsody,
                and any and all download and streaming services; and
       (43)     Any and all of Defendants’ equity interests in Spotify, and any other music
                streaming or download services or companies in which one or more Defendant
                has an interest, as it relates to the value from the inclusion of the infringing song
                in the service.

       E.       In the alternative, an award of statutory damages, pursuant to 17 U.S. § 504(c), in

the amount of $150,000 for each act of infringement;

       F.       An award of compensatory and special damages in accordance with proof at trial;

       G.       An award of attorneys’ fees and full costs pursuant to 17 U.S. § 505 and under

other applicable law;

       H.       For pre-judgment and post-judgment interest according to law, as applicable; and

       I.       For such other and further relief as this Court may deem just and proper.



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                             REQUEST FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Nwosuocha demands a

trial by jury as to all issues triable by jury, as enumerated and set forth in more detail in this

Complaint.

Dated: New York, New York
       May 5, 2021
                                             Respectfully submitted,

                                             AIDALA, BERTUNA & KAMINS, P.C.
                                     By:     /s/ Imran H. Ansari
                                             Imran H. Ansari, Esq.
                                             546 Fifth Avenue, 6th Floor
                                             New York, NY 10036
                                             T: (212) 486-0011
                                             F: (212) 750-8297
                                             iansari@aidalalaw.com

                                             and

                                             MIAMI ENTERTAINMENT LAW GROUP
                                     By:     /s/ La’Shawn N. Thomas
                                             La’Shawn N. Thomas, Esq.
                                             261 North University Drive, Suite 500
                                             Plantation, Florida 33324
                                             T: (305) 417-6450
                                             F: (305) 417-6452
                                             LThomas@MiamiEntertainmentLawGroup.com
                                             Pro Hac Vice Application Forthcoming


                                             Attorneys for Plaintiff Emelike Nwosuocha




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